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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

CITIBANK, N.A AS TRUSTEE FOR AMERICAN HOME
MORTGAGE ASSETS

TRUST 2006-3, MORTGAGE BACKED PASS-THROUGH
CERTIFICATES SERIES 2006-3
VS | C.A. NO:1:18-ev-427-JJM

KATHERINE L. CAITO
INTERNAL REVENUE SERVICE

AFFIDAVIT OF KERRI HALL

I, Kerri Hall, being duly sworn, state the following:

1. I am a legal assistant for attorney John B. Ennis at his law office at

1200 Reservoir Avenue, Cranston, Rhode Island.

 

2. Exhibit K is a genuine and authentic copy of an email sent to this law
office by Thomas M. Bergeron the Acting Administrative Assistant to the
Chief Justice of the Rhode Island Supreme Court dated July 23, 2018, which
indicates that Korde & Associates was not registered to practice law in the
State of Rhode Island until March 16, 2017. This document is maintained in
this law office as a record. I have accessed this record by downloading this

exhibit from the office computer where it was scanned and stored after

receiving this document.

 

 
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4. Exhibit L is a genuine and authentic copy of the Application for
Certificate of Authority of Korde & Associates, P.C. dated July 23, 2012.
This document was accessed from the Secretary of State database with a
search for Korde & Associates, PC. I found the following webpage:
http://business.sos.ti.gov/Corp Web/CorpSearch/CorpSearchFormL ist.aspx?
SEARCH_TYPE=1

I accessed this page and printed Exhibit L.

 

Subscribed and sworn to before me on July 15, 2019 under the penalty of
perjury. ;

LMA by Ww
NOJARY PUBLIC

  

 
